   Case 3:07-cv-00592-JGH Document 22 Filed 09/11/08 Page 1 of 2 PageID #: 76




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF KENTUCKY
                            LOUISVILLE DIVISION

PAMELA S. ALICNA,                                )
                                                 )
                  Plaintiff,                     )
                                                 )
                                                       CIVIL ACTION NO.
v.                                               )
                                                         3:07-cv-592-H
                                                 )
ALTEC INDUSTRIES, INC.                           )
                                                 )
                  Defendant.                     )

                           JOINT STIPULATION OF DISMISSAL

           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(ii), plaintiff, Pamela S.

Alicna, and defendant, Altec Industries, Inc., hereby stipulate that this action should be

dismissed with prejudice, with each party to bear their own costs, including attorneys’

fees.

           Respectfully submitted this 11th day of September, 2008.

/s/Andrew Dutkanych, III                          /s/ J. Tobias Dykes
Andrew Dutkanych, III                             J. Tobias Dykes (ASB-0483-E66J)
Biesecker & Dutkanych, LLC                        E-mail: tdykes@constangy.com
101 North Seventh Street                          Direct Dial No.: (205) 226-5469
Louisville, KY 40202                              CONSTANGY, BROOKS & SMITH, LLC
                                                  Suite 900, One Federal Place
                                                  1819 Fifth Avenue North
                                                  Birmingham, AL 35203

                                                  Philip J. Reverman, Jr.
                                                  BOEHL STOPHER & GRAVES, LLP
                                                  2300 Aegon Center
                                                  400 West Market Street
                                                  Louisville, Kentucky 40202

491073.1
   Case 3:07-cv-00592-JGH Document 22 Filed 09/11/08 Page 2 of 2 PageID #: 77




491073.1
